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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
____________________________________
RCC FABRICATORS, INC.                :
                  Plaintiff          :
      v.                             : CIVIL ACTION
UMOJA ERECTORS, LLC                  :
NORTH AMERICAN SPECIALTY             : NO. 17-CV-05304-JS
      INSURANCE COMPANY              :
                  Defendants         :
____________________________________:

                                            ORDER

       AND NOW, this ____ day of _______________, 2019, upon consideration of Plaintiff

RCC Fabricators’ Motion for Summary Judgment and Defendant North American Specialty

Insurance Company’s response thereto, and finding that there are genuine issues of material fact,

it is hereby ORDERED that this Motion is DENIED.




                                                    BY THE COURT


                                                    _____________________________
                                                                            J.
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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
____________________________________
RCC FABRICATORS, INC.                :
                  Plaintiff          :
      v.                             : CIVIL ACTION
UMOJA ERECTORS, LLC                  :
NORTH AMERICAN SPECIALTY             : NO. 17-CV-05304-JS
      INSURANCE COMPANY              :
                  Defendants         :
____________________________________:

     DEFENDANT NORTH AMERICAN SPECIALTY INSURANCE COMPANY’S
            RESPONSE TO PLAINTIFF RCC FABRICATOR, INC.’S
                 MOTION FOR SUMMARY JUDGMENT

       Defendant North American Specialty Insurance Company (“North American”), by its

undersigned counsel, hereby opposes the motion for summary judgment filed by Plaintiff RCC

Fabricators, Inc. There are genuine issues of material fact.

       In opposition to this motion, North American relies upon and incorporates the

accompanying memorandum of law, counter-statement of material facts and supporting

documents and testimony. A proposed order is attached.

       Oral argument is not requested on this motion.

                                              Respectfully submitted,

                                              DEAN E. WEISGOLD, P.C.


Dated: July 29, 2019                          s/ Leonard A. Windish
                                              LEONARD A. WINDISH
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                                              Philadelphia, Pennsylvania 19103
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                  IN THE UNITED STATES DISTRICT COURT
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RCC FABRICATORS, INC.                :
                  Plaintiff          :
      v.                             : CIVIL ACTION
UMOJA ERECTORS, LLC                  :
NORTH AMERICAN SPECIALTY             : NO. 17-CV-05304-JS
      INSURANCE COMPANY              :
                  Defendants         :
____________________________________:

     DEFENDANT NORTH AMERICAN SPECIALTY INSURANCE COMPANY’S
               MEMORANDUM OF LAW IN OPPOSITION TO
                   PLAINTIFF RCC FABRICATORS’
                 MOTION FOR SUMMARY JUDGMENT

I.     INTRODUCTION

       This lawsuit involves renovations to a building located at 46th Street and Market Street in

Philadelphia that is owned by the City of Philadelphia. D.A. Nolt, Inc. (“D.A. Nolt’) was

awarded a publicly-bid contract for building façade and roof improvements at the proposed

Public Safety Services Campus located at 46th and Market Streets in Philadelphia (the “Project”).

As required by this contract and by the Pennsylvania Public Works Contractors’ Bond Law, 8

P.S. §§ 191-202, Defendant North American Specialty Insurance Company (“North American”)

provided a payment bond guaranteeing payment to D.A. Nolt’s subcontractors and suppliers.

The City of Philadelphia assigned the contract to the Philadelphia Municipal Authority (the

“PMA”) which operated as the owner of the Project.

       D.A. Nolt subcontracted with Defendant Umoja Erectors, LLC (“Umoja”) for a portion

of this work at the Project, namely the procurement and erection of structural steel. Umoja

subcontracted with Plaintiff RCC Fabricators, Inc. (“RCC Fabricators”) to supply the structural

steel for this portion of the Project. There were various issues that arose during Umoja’s and

RCC Fabricators’ work at the Project that delayed the completion of their and D.A. Nolt’s work
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at the Project. These delays caused all parties additional costs and expenses which have been

documented during discovery in this case.

       Unfortunately, the PMA refused to pay D.A. Nolt for its work at the Project, including

that work performed by RCC Fabricators and Umoja, due to delays at the Project. D.A. Nolt has

sued the PMA for non-payment in this Court at No. 18-cv-4997, seeking damages of

$2,564,329.37, including payment for the work performed by RCC Fabricators and Umoja. The

PMA has countersued D.A. Nolt for delay damages in the amount of $2,722,288.12.

       RCC Fabricators’ subcontract with Umoja incorporates Umoja’s subcontract with D.A.

Nolt. These subcontracts contain “pay-if-paid” payment terms and dispute resolution terms

binding the parties to the findings in the D.A. Nolt/PMA dispute. Due to these terms, the PMA’s

failure to pay D.A. Nolt, the PMA’s claims against D.A. Nolt, the delays caused by Umoja and

RCC Fabricators, and the damages these delays have caused D.A. Nolt, this Court should deny

RCC Fabricators’ motion for summary judgment.

II.    STATEMENT OF FACTS

       A.      Parties and Relationships

       North American is a surety that offers payment and performance bonds to construction

contractors. The payment bonds guarantee payment to subcontractors and suppliers of the

contractors. Payment bonds are required on most public projects in Pennsylvania by the

Pennsylvania Public Works Contractors’ Bond Law, 8 P.S. §§ 191-202.

       North American provided a payment bond to D.A. Nolt for a public construction contract

that D.A. Nolt had been awarded in August of 2015 by the City of Philadelphia (the “Project”).

The City of Philadelphia assigned the contract to the PMA which operated as the owner of the

Project.




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        A portion of D.A. Nolt’s work on the Project was for the erection of roof frames, a

penthouse structure, screen walls and miscellaneous steel components on the existing roof of an

existing building. D.A. Nolt subcontracted with Umoja for this work at the Project. Umoja

subcontracted with RCC Fabricators to supply the structural steel for this portion of the Project.

        In this case, RCC Fabricators seeks payment from D.A. Nolt’s surety, North American,

for the steel it provided to the Project.

        B.       The Project - Schedule and Delays

        D.A. Nolt’s contract with the PMA required completion of the Project by December 16,

2016. This contract contained a liquidated damages clause whereby D.A. Nolt would be charged

$10,000 per day for not completing the Project by December 16, 2016.

        In December of 2015, D.A. Nolt and Umoja agreed to a price for the erection of the steel

components. However, from January through May of 2016, the PMA issued bulletins which

mandated changes to the Project which required changes to the D.A. Nolt-Umoja agreement. On

June 27, 2016, representatives of D.A. Nolt and Umoja met and agreed to the terms of a revised

agreement which was sent to Umoja on June 30, 2016. However, Umoja did not sign and return

the subcontract to D.A. Nolt. A steel pre-installation meeting was held on August 10, 2016.

Umoja began its work on the Project without a signed subcontract. Additional terms were

negotiated and a final subcontract was not signed until November of 2016.

        Meanwhile, in May of 2016, D.A. Nolt contracted directly with RCC Fabricators for the

production of shop drawings for the roof improvements at the Project which required approval of

the PMA’s engineer before any of the steel required for the roof improvements could be ordered

and fabricated. RCC Fabricators had told D.A. Nolt that the shop drawings would be complete

in three or four weeks, by the week of June 6, 2016.   However, RCC Fabricators did not




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produce drawings that would be approved by the PMA until September of 2016, more than three

months late.

       Once the shop drawings were finally approved by the PMA in September of 2016, Umoja

subcontracted with RCC Fabricators for RCC Fabricators to provide the structural steel for the

roof improvements. RCC Fabricators’ subcontract with Umoja allowed for four to six weeks for

delivery of all of the structural steel. At that time, RCC Fabricators confirmed that it would start

to ship the structural steel to the Project during the week of September 19, 2016. However, RCC

Fabricators did not deliver any steel to the Project until September 28, 2016, at which time only

certain items were delivered to the Project.

       In September and October, D.A. Nolt and Umoja continued to prompt RCC to provide

the balance of the structural steel that it contracted to provide. RCC Fabricators was finally able

to deliver more structural steel on November 11, 2016, a full month later than required by RCC

Fabricators’ contract. Much of the structural steel had to be remade and modified; issues

involving the fabrication and modification of the steel provided by RCC Fabricators extended

RCC Fabricators’ delivery of steel into March of 2017, nearly five months late.

       There were several other issues that delayed the completion of Umoja’s and RCC

Fabricators’ work at the Project that were the sole responsibility of Umoja and/or RCC

Fabricators. This further delayed D.A. Nolt’s completion of the Project which included the

installation and testing of a new roof system, which could not begin until Umoja’s work was

complete. D.A. Nolt completed its work at the Project in September of 2017. Final roof testing

was completed and accepted in February of 2018.




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       C.      Delay Claim by the PMA

       Due to the delays stated above, the PMA stopped paying D.A. Nolt for its work on the

Project in January of 2017. The PMA claims that the late completion of the Project has caused it

to suffer delay damages. The PMA asserts that the delay in completion of the Project caused it

to incur the following additional costs:

       Owner-occupied insurance                      $924,439.00

       Additional architectural services             $75,000.00

       Additional construction management            $853,642.34

       Extended time for on-site safety inspector    $852,726.78

       Labor consultant/chair meetings               $14,080.00

       Additional Labor Management                   $2,400.00

                                                     $2,722,288.12.

       D.A. Nolt has sued the PMA in this Court for non-payment in the case captioned as D.A.

Nolt, Inc. v. The Philadelphia Municipal Authority, et al., case # 2:18-CV-04997 (the “PMA-

D.A. Nolt case.”) D.A. Nolt seeks damages in the amount of $2,564,329.37. The PMA has filed

a Counterclaim seeking damages in the amount of $2,722,288.12. The PMA-D.A. Nolt case has

a Scheduling Order that indicates discovery is to be complete by July 15, 2019, and trial is

anticipated in November, 2019.

       D.A. Nolt’s subcontract with Umoja contains a “pay-if-paid” payment provision,

providing that payment from the PMA to D. A. Nolt for Umoja’s “labor and materials is a

condition precedent to payment” from D.A. Nolt to Umoja. Therefore, to the extent that the

PMA has not paid D. A. Nolt for Umoja’s labor and materials, including those provided by RCC

Fabricators, D.A. Nolt has no duty to make payment.




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       In addition, D.A. Nolt’s contract with Umoja allows that D.A. Nolt “may deduct from

amount due or to become due to [Umoja], on this Project any sum due or to become due to [D.A.

Nolt] from [Umoja].” To the extent that the PMA is able to prove any of its delay damages,

D.A. Nolt asserts that such damages arise from Umoja’s (and RCC Fabricators’) untimely

completion of its work. D.A. Nolt intends to seek compensation from Umoja for any damages

assessed against it in favor of the PMA.

       The payment bond issued by North American to guarantee payment to D.A. Nolt’s

subcontractors and suppliers incorporates D.A. Nolt’s subcontract with Umoja. In addition, the

payment bond provides that North American’s obligation will be “null and void” if D.A. Nolt

makes payment to claimants, directly or indirectly, for all sums due. As stated above, D.A. Nolt

has made payment to Umoja for all sums due under its subcontract with Umoja. Therefore,

currently, North American has no liability to RCC. This may change if D.A. Nolt is successful

in its case against the PMA.

       The contract documents also provide for Umoja and RCC Fabricators to be bound by any

findings in any dispute between D.A. Nolt and the PMA:

               In the event of any dispute between [D.A. Nolt] and [the PMA]
               which involves the work required to be performed by [Umoja]
               under this Subcontract, or in the event of any dispute between
               [D.A. Nolt] and [Umoja] which involves a claim against the
               [PMA] for either additional compensation and/or an extension of
               time under the Contract Documents, [Umoja] agrees to be bound
               to [D.A. Nolt] and [D.A. Nolt] agrees to be bound to [Umoja] to
               the same extend that [D.A. Nolt] is bound to the [PMA] by the
               terms of the Contract Documents and by all decisions or findings
               made thereunder by the persons so authorized in the Contract
               Documents, or by an administrative agency or court of
               competent jurisdiction, whether or not [Umoja] is a party to the
               proceeding before said person, agency or court.




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Exhibit F, paragraph 19.1.1 (emphasis added). Therefore, Umoja, and its subcontractor RCC

Fabricators, are bound by any decision in the PMA - D.A. Nolt case.

III.   STATEMENT OF QUESTION INVOLVED

       Should this Court deny RCC Fabricators’ motion for summary judgment where:

              1.      North American is entitled to all the defenses of its principal, D.A. Nolt;

              2.      The applicable contract documents make payments due to RCC

       Fabricators contingent upon D.A. Nolt’s receipt of payment from the PMA;

              3.      The PMA has not paid D.A. Nolt for all of the labor and materials

       provided by Umoja and RCC Fabricators;

              4.      D.A. Nolt has paid Umoja the full amount, and maybe more, that D.A.

       Nolt has received from the PMA for the labor and materials provided by Umoja and RCC

       Fabricators at the Project;

              5.      The applicable contract documents allow D.A. Nolt to withhold payment

       from Umoja (and RCC Fabricators) where delays caused by these parties cause D.A. Nolt

       financial damages;

              6.      The applicable contract documents allow D.A. Nolt to withhold payment

       from Umoja (and RCC Fabricators) for claims made by the PMA against D.A. Nolt;

              7.      D.A. Nolt and the PMA are currently in litigation over payment and delay

       damages issues in this Court; and

              8.      The applicable contract document show that Umoja and RCC Fabricators

       agreed to be bound by any findings in disputes between D.A. Nolt and the PMA?

       Suggested Answer: Yes.




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IV.     ARGUMENT

        A.      Legal Standard

        Summary judgment is appropriate "if the pleadings, depositions, answers to

interrogatories, and admissions on file, together with the affidavits, if any, show that

there is no genuine issue as to any material fact and that the moving party is entitled to a

judgment as a matter of law." Fed. R. CIV P 56(c); Anderson v. Liberty Lobby, Inc., 477 U.S.

242, 247-48, 106 S. Ct. 2505, 91 L. Ed. 2d 202 (1986). The moving party bears the

initial burden of identifying those portions of the record that it believes illustrate the

absence of a genuine issue of material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 322,

106 S. Ct. 2548, 91 L. Ed. 2d 265 (1986). If the moving party makes such a demonstration, the

burden then shifts to the nonmovant, who must offer evidence that establishes a genuine issue of

material fact that should proceed to trial. Id. at 324; see also Matsushita Elec. Indus. Co. v.

Zenith Radio Corp., 475 U.S. 574, 106 S. Ct. 1348, 89 L. Ed. 2d 538 (1986).

        In reviewing the record, "a court must view the facts in the light most favorable to the

nonmoving party and draw all inferences in that party's favor." Armbruster v. Unisys Corp.,

32 F.3d 768, 777 (3d Cir. 1994). Furthermore, a court may not make credibility

determinations or weigh the evidence in making its determination. See Reeves v.

Sanderson Plumbing Prods., 530 U.S.133, 150, 120 S. Ct. 2097, 147 L. Ed. 2d 105

(2000); see also Goodman v. Pa. Tpk. Comm'n, 293 F.3d 655, 665 (3d Cir. 2002).

        B.      North American Can Assert the Defenses of its Principal

        It is well-established under Pennsylvania law that the liability of a surety is no greater

than that of the surety's principal, and that a surety may assert any defense of which its principal

could take advantage. See Exton Drive-In, Inc. v. Home Indem. Co., 436 Pa. 480, 261 A.2d




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319, 325 (Pa. 1969); Gen. Equip. Mfrs. v. Westfield Ins. Co., 430 Pa. Super. 526, 635 A.2d 173,

180 (Pa. Super. Ct. 1993); Superior Precast, Inc. v. Safeco Ins. Co. of America, 71 F. Supp. 2d

438, 452 (E.D. Pa. 1999) ("Under Pennsylvania law, it is axiomatic that the liability of a surety is

not greater than that of a principal."); Glass Artistry Arch. Glass & Metal v. Western Surety Co.,

2010 U.S. Dist. LEXIS 7477 at *14-15, 2010 WL 331701 (E.D. Pa. Jan. 27, 2010); Sloan & Co.

v. Liberty Mutual Ins. Co., 2008 U.S. LEXIS 62384 at *8, 2008 WL 3732519 (E.D. Pa August

15, 2008).

       Sureties such as North American are entitled to the defenses of their principals. American

Bonding Co. v. United States, 233 F. 364, 369 (3d Cir. 1916); Ford Motor Credit Co. v. Lototsky,

549 F.Supp. 996 (E.D.Pa. 1982); see also 10 S. Williston, Contracts 214. Therefore, in this

case, North American has all of D. A. Nolt’s defenses, including non-payment by the PMA and

delay damages, available to it.

       In this case, D.A. Nolt has numerous defenses to claims of non-payment to its

subcontractor Umoja and its subcontractor, RCC Fabricators. These include both contractual

and factual defenses:

       1.      Pay-if-paid payment terms;

       2.      North American has no obligation to RCC Fabricators where D.A. Nolt owes

nothing to Umoja;

       3.      The PMA has asserted claims and is seeking to recover money from D.A. Nolt for

issues involving the work of Umoja and RCC Fabricators;

       4.      Issues with the labor and materials provided by Umoja and RCC Fabricators

concerning delays on the Project have caused D.A. Nolt to incur costs in excess of RCC

Fabricators’ claim.




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       RCC Fabricators’ motion for summary judgment completely ignores these issues and

North American’s ability to assert these defenses. RCC Fabricators asserts that it is entitled to

summary judgment for all of the sums it alleges is due merely because it sold materials to

Umoja, the materials were used in the Project and it has not been paid in full. RCC Fabricators

requests judgment in the amount of $209,805.00 without regard for the applicable agreements

between the parties and without regard for the damage RCC Fabricators caused to Umoja, D.A.

Nolt and the PMA. RCC Fabricators seems to believe that the responsibility for verifying field

dimensions should be dispositive of this case. However, the contract documents govern how and

when payments are be made by and among the parties.

       C.     The “Pay-if-Paid” Provisions in the Parties’ Agreements Preclude Recovery
       of Plaintiff’s Claim

       The subcontract between Umoja and RCC incorporated the terms of Umoja’s contract

with D.A. Nolt.

               Subcontractor further agrees. to be bound to Umoja by each and all
               of the terms of the Prime Subcontract between Nolt and Umoja
               with respect to Subcontractor's work, and to assume toward Umoja
               all duties and obligations Umoja owes the general contractor Nolt
               under the Prune Subcontract with respect to the Subcontractor's
               work, and Umoja shall have the same rights and remedies against
               Subcontractor as Nolt has against Umoja under said Prime
               Subcontract with respect to the Subcontractor's work, with the
               same force and effect as though every such duty, obligation, right
               or remedy were set forth herein at length.

Exhibit G. Section 4.1.2 of Umoja’s contract with D.A. Nolt makes D.A. Nolt’s receipt of

payment from the PMA a condition precedent to D.A. Nolt’s duty to pay Umoja:

               Subcontractor recognizes that payment from the owner to the
               Contractor for the Subcontractor’s labor and materials is a
               condition precedent to payment from the Contractor to the
               Subcontractor. By entering into the Subcontract, Subcontractor
               agrees to bear the risk of non-payment by the Owner.

Exhibit F (emphasis added). Section 5.3 of that contract echoes this “pay if paid” requirement:


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               Subcontractor recognizes that final payment from the owner to
               the Contractor for the Subcontractor’s labor and materials is a
               condition precedent to payment from the Contractor to the
               Subcontractor. By entering into the Subcontract, Subcontractor
               agrees to bear the risk of non-payment by the Owner.

Exhibit F (emphasis added). RCC Fabricators’ subcontract with Umoja also contains a “pay if

paid” payment term:

               Based upon itemized invoices received from Subcontractor, Umoja
               agrees to make progress payment to Subcontractor. Each progress
               payment shall be in an amount equal to that portion of the
               Subcontract amount property allocable to completed Subcontractor
               work. Contingent upon payment by Nolt progress payments,
               final payments and retainage shall be due and payable to
               Subcontractor within seven (7) calendar days from the date of
               Umoja payment received by Nolt.

Exhibit G, page 2 (emphasis added).

       Parties to a construction contract may use enforceable “pay if paid” clauses to “shift the

risk of the owner’s nonpayment under a subcontract from the contactor to the subcontractor.”

Sloan & Co. v. Liberty Mutual Ins. Co., 653 F.3d 175, 184 (3d Cir. 2011). “Pennsylvania law

recognizes that pay-if-paid clauses present a condition precedent to payment." Quinn Constr.,

Inc. v. Skanska USA Bldg., Inc., 730 F. Supp. 2d 401, 421 (E.D. Pa. 2010). The law imposes on

parties to such a clause “an implied duty not to frustrate conditions precedent to their

performance.” Id. As the Supreme Court of Pennsylvania has stated, “if a promisor is himself the

cause of the failure of performance . . . of a condition upon which his own liability depends, he

cannot take advantage of the failure.” Howley v. Scranton Life Ins. Co., 357 Pa. 243, 53 A.2d

613, 616 (Pa. 1947).

       Sureties can assert “pay-if-paid” language in their principals’ subcontracts as a defense to

subcontractor claims. Sloan & Co., supra; Connelly Constr. Corp. v. Travelers Cas. & Sur. Co.

of Am., 2018 U.S. Dist. LEXIS 123009 (E.D.Pa. 2018); Glass Artistry Architectural Glass &



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Metal v. Western Surety Co., 2010 U.S. LEXIS 7477 (E.D.Pa. 2010). In Sloan & Co., the Third

Circuit determined that the combination of the “pay-if-paid” language, modifications and

liquidating provisions resulted in the agreement that a subcontractor’s claim against a surety

would be limited to what the surety’s principal/general contractor could collect on its claim

against the project owner. Sloan & Co., id. at 181-83. Likewise, in Glass Artistry, this Court

determined that a subcontractor’s claim for payment against a surety was limited to what the

surety’s principal/general contractor could recover from the project owner. Glass Artistry, id. at

*32.

       The “pay-if-paid” clause in the subcontract between D.A. Nolt and Umoja expressly

conditions D.A. Nolt’s duty to pay Umoja on D.A. Nolt’s receipt of those funds from the PMA.

Thus, Umoja agreed that the risk that the PMA would not pay was transferred from D.A. Nolt to

Umoja. Likewise, RCC Fabricators agreed to this express condition in its subcontract with

Umoja through the section quoted above and the incorporation clause contained in its

subcontract with Umoja.

       The evidence in this case shows that D.A. Nolt has not been paid in full by the PMA for

the steel work at the Project. Exhibit H, deposition of Richard O’Brien, p. 70. D.A. Nolt has not

been paid in full for the materials provided by RCC Fabricators at the Project. Exhibit H, pp. 70-

71. The PMA has not made any payments to D.A. Nolt since January 2017. Exhibit H, p. 73.

D.A. Nolt has paid Umoja the full amount, and maybe more, that D.A. Nolt has received from

the PMA for the labor and materials provided by Umoja and RCC Fabricators at the Project.

Exhibit H, p. 74-75. In addition, D.A. Nolt’s Payment History shows that it has disbursed all of

the payments it received from the PMA for labor and materials provided by Umoja and RCC at

the Project. Exhibit I, Payment History; Exhibit H, pp.45-46.




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       RCC Fabricators’ motion for summary judgment completely avoids and fails to address

the clear and unambiguous “pay-if-paid” provisions cited above. RCC Fabricators freely and

without reservation entered into its subcontract with Umoja that contains a “pay-if-paid” clause

and that incorporates the “pay-if-paid” clause in the subcontract between Umoja and D.A. Nolt.

Now, ignoring this “pay-if-paid” language, RCC Fabricators seeks to avoid the impact this

language has on its claims against North American. This cannot be allowed. RCC Fabricators

must be held accountable for its decision to sign its subcontract with Umoja.

       The applicable payment terms show that payment from the PMA is a condition precedent

to D.A. Nolt’s and thus North Americans’ payment obligations. The evidence in this case shows

that the PMA has not paid D.A. Nolt for the materials provided by RCC Fabricators. Therefore,

North American has a valid defense to RCC Fabricators’ claim for non-payment. Accordingly,

the motion for summary judgment should be denied.

       D.      RCC Fabricators Cannot Collect on its Claim as there is Nothing Due to
               Umoja from D.A. Nolt

       North American’s payment bond provides that North American shall have no liability

provided that D.A. Nolt makes payment for all sums due:

               With respect to Claimants, this obligation shall be null and void if
               the Contractor promptly makes payment, directly or indirectly, for
               all sums due.

Exhibit C. RCC Fabricators’ motion completely ignores this language that negates North

American’s obligation to RCC Fabricators should D.A. Nolt make payment for all sums due.

       Section 4.5 of Umoja’s subcontract with D.A. Nolt negates D.A. Nolt’s obligation to pay

Umoja upon delays to the Project

               Contractor shall not be obligated to make payments to
               Subcontractor under this Subcontract whenever the Contractor, in




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               his sole discretion, shall determine that the Project is being or is in
               danger of being delayed by the Subcontractor.

Exhibit F, Section 4.5c. Section 16.1.1 of Umoja’s subcontract with D.A. Nolt provides “Time is

of the essence.” Exhibit F. Section 16.4.1 of Umoja’s contract with D.A. Nolt provides for

withholding of payment from Umoja upon the PMA’s claims of damages related to delays to the

Project:

               In the event of any failure of Subcontractor to complete his work
               within the required time, the Subcontractor hereby agrees to
               reimburse the Contractor for any and all actual and/or liquidated
               damages that may be assessed against the Contractor by the
               Owner, which are directly or indirectly attributable to work caused
               by the Subcontractor’s failure to comply fully with the foregoing
               provision.

Exhibit F (emphasis in original). Section 16.4.2 of Umoja’s subcontract with D.A. Nolt provides

for Umoja to compensate D.A. Nolt for any damages D.A. Nolt sustains due to delays caused by

Umoja:

               Subcontractor also agrees to pay to the Contractor such damages as
               the Contactor may sustain by reason of any delay, directly or
               indirectly, attributable to or caused by the Subcontractor.

Exhibit F. Section 4.3 of Umoja’s subcontract with D.A. Nolt allows the withholding of

payment for claims made by the PMA

               The Contractor may deduct from amounts due or to become due to
               the Subcontractor on this Project any sums due or to become due to
               Contractor from the Subcontractor.

Exhibit F.

       The evidence in this case shows that D.A. Nolt has made payment for all sums due. D.A.

Nolt has disbursed or placed into escrow all funds received from the PMA. There are no sums

due to Umoja from D.A. Nolt at this time. Therefore, North American’s obligation under the

Payment Bond is null and void.



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       The evidence in this case also shows that the Project was delayed by Umoja and RCC

Fabricators. RCC Fabricators’ contract with Umoja, dated August 2, 2016, provided that the

delivery of RCC Fabricators’ structural steel was to be delivered “4-6 weeks from Receipt of

Approved Shop Drawings.” Exhibit G, Exhibit A, RCC Fabricators’ bid. RCC Fabricators’

initial shop drawings were provided June 27, 2016. Exhibit M, Shop Drawings. RCC Fabricators

began delivering its structural steel to the Project on September 28, 2016. Exhibit N, RCC

Fabricators’ Bills of Lading. RCC Fabricators delivered the last of its structural steel to the

Project on February 22, 2017, more than three months after the Project completion date. Exhibit

N. In addition, Umoja has identified several pieces of steel that RCC Fabricators had fabricated

incorrectly and had to be re-fabricated, further delaying the Project. Exhibit P, Umoja’s

Supplemental Answers to Interrogatories. D.A. Nolt’s work was delayed by the late delivery of

RCC Fabricators’ steel as D.A. Nolt could not complete its roof work without the structural steel.

Exhibit O, Deposition of Scott Vesper, pp. 126-27. D.A. Nolt repeatedly advised RCC

Fabricators’ of the delays RCC Fabricators was causing. Exhibit O, p. 123-24.; Exhibit Q,

Deposition of Jeff Smilek, pp. 89-90, 128; Exhibit R, sample project correspondence.

       D.A. Nolt has clearly demonstrated that Umoja and RCC Fabricators delayed the Project.

Pursuant to section 4.5 of its subcontract with Umoja cited above, D.A. Nolt is justified in

withholding any monies that may have become due to Umoja and RCC Fabricators.

       The PMA, owner of the Project, stopped paying D.A. Nolt’s invoices in January, 2017

and has alleged and is prosecuting a claim for damages against D.A. Nolt for delay damages on

the Project, including those related to Umoja’s and RCC Fabricators’ work. D.A. Nolt has sued

the PMA is this Court for non-payment on the Project. Exhibit J, D.A. Nolt’s Complaint in the

PMA – D.A. Nolt case. The PMA has filed a Counterclaim including claims for actual and




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liquidated damages for delays on the Project, citing the Project completion date of December 16,

2016. Exhibit K, PMA’s Answer and Counterclaim. The PMA – D.A. Nolt is currently

scheduled to go to trial in November of 2019. Exhibit L, Scheduling Order.

       D.A. Nolt is clearly authorized by Sections 16.4.1 and 16.4.2 of its contract with Umoja

to offset Umoja’s and RCC Fabricators’ claims for non-payment with the damages assessed by

the PMA and those sought to be collected by the PMA. Therefore, there is no amount due to

Umoja from D.A. Nolt or to RCC Fabricators from North American.

       The evidence in this case also shows that D.A. Nolt suffered great financial damage due

to the delays caused by Umoja and RCC Fabricators. D.A. Nolt has produced documentation of

all of these damages in this litigation. Exhibits S and T. These backcharges include the

following:

                Overcharges on Umoja Invoices                $97,654.86

                All Costs Associated with Steel RFIs         $23,200.00

                Additional Engineering Services              $19,892.50

                Damage to Roof                               $522,197.60

                Extended General Conditions                  $488,422.96

                Equipment Charged but Not Returned           $5,517.10

                Rejected Umoja Invoices – Rework labor       $238,486.23

                                      TOTAL                   $1,395,371.25

       D.A. Nolt is clearly authorized by Section 4.3 of its contract with Umoja to offset Umoja

and RCC Fabricators’ claims for non-payment with the damages D.A. Nolt suffered as a result of

these parties’ delays. North American, as D.A. Nolt’s surety, is entitled to this setoff as a

defense to RCC Fabricators’ claim of nonpayment.



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       RCC Fabricators asserts that it is entitled to summary judgment for all of the sums it

alleges is due merely because it sold materials to Umoja, the materials were used in the Project

and it has not been paid in full. However, RCC Fabricators fails to support its contention that

North American is bound to pay whatever Umoja, D.A. Nolt and the PMA failed to pay despite

the risk-shifting provisions in the applicable contract documents that North American is entitled

to assert. RCC Fabricators’ argument misconstrues the concept of suretyship. A construction

bond only assumes the fulfillment of the principal’s obligations identified in the principal’s

contract. A construction bond is not an insurance policy. Here, D.A. Nolt’s obligation to pay

Umoja is to pay Umoja what it receives from the PMA for Umoja’s (and RCC Fabricators’)

work, less any delay damages caused by Umoja and less any claims by the PMA against D.A.

Nolt directly or indirectly attributable to Umoja’s (and RCC Fabricators’) work. Therefore,

North American’s obligation under its payment bond is to pay Umoja and RCC Fabricators what

D.A. Nolt receives from the PMA, less any delay damages claimed by D.A. Nolt and by the

PMA. As shown above and in the Counterstatement of Material Facts, this obligation has been

met. All of these facts show that no payment is currently due from D.A. Nolt to Umoja.

Therefore, North American has no obligation to RCC Fabricators. Accordingly, the motion for

summary judgment should be denied.




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V.     CONCLUSION

       For all of the above reasons, Defendant North American Specialty Insurance Company

requests that this Honorable Court deny Plaintiff RCC Fabricators, Inc.’s motion for summary

judgment.

                                           Respectfully submitted,

                                           DEAN E. WEISGOLD, P.C.


Dated: July 29, 2019                       s/ Leonard A. Windish
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                              CERTIFICATE OF SERVICE

      I, Leonard A. Windish hereby certify that a true and correct copy of the foregoing

Response to Motion for Summary Judgment was served upon the following on July 29, 2019:



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